12-12020-mg   Doc 2961-2   Filed 02/19/13 Entered 02/19/13 16:21:32   Exhibit B
                                  Pg 1 of 17




                           Exhibit B
12-12020-mg  Doc 2961-2 Filed
        Case 08-12229-MFW     02/19/13
                            Doc         Entered
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                                            01/30/12     16:21:32
                                                       Page 1 of 16 Exhibit B
                               Pg 2 of 17
12-12020-mg  Doc 2961-2 Filed
        Case 08-12229-MFW     02/19/13
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                                                       Page 2 of 16 Exhibit B
                               Pg 3 of 17
12-12020-mg  Doc 2961-2 Filed
        Case 08-12229-MFW     02/19/13
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                                                       Page 3 of 16 Exhibit B
                               Pg 4 of 17
12-12020-mg  Doc 2961-2 Filed
        Case 08-12229-MFW     02/19/13
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                                                       Page 4 of 16 Exhibit B
                               Pg 5 of 17
12-12020-mg  Doc 2961-2 Filed
        Case 08-12229-MFW     02/19/13
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                                                       Page 5 of 16 Exhibit B
                               Pg 6 of 17
12-12020-mg  Doc 2961-2 Filed
        Case 08-12229-MFW     02/19/13
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                                            01/30/12     16:21:32
                                                       Page 6 of 16 Exhibit B
                               Pg 7 of 17
12-12020-mg  Doc 2961-2 Filed
        Case 08-12229-MFW     02/19/13
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                                            01/30/12     16:21:32
                                                       Page 7 of 16 Exhibit B
                               Pg 8 of 17
12-12020-mg  Doc 2961-2 Filed
        Case 08-12229-MFW     02/19/13
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                                            01/30/12     16:21:32
                                                       Page 8 of 16 Exhibit B
                               Pg 9 of 17
12-12020-mg  Doc 2961-2 Filed
        Case 08-12229-MFW     02/19/13
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                                             01/30/12     16:21:32
                                                        Page 9 of 16 Exhibit B
                               Pg 10 of 17
12-12020-mg   Doc 2961-2 Filed
        Case 08-12229-MFW   Doc02/19/13   Entered
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                                             01/30/12      16:21:32
                                                        Page  10 of 16Exhibit B
                                Pg 11 of 17
12-12020-mg   Doc 2961-2 Filed
        Case 08-12229-MFW   Doc02/19/13   Entered
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                                             01/30/12      16:21:32
                                                        Page  11 of 16Exhibit B
                                Pg 12 of 17
12-12020-mg   Doc 2961-2 Filed
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                                 9521 Filed       02/19/13
                                             01/30/12      16:21:32
                                                        Page  12 of 16Exhibit B
                                Pg 13 of 17
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                                             01/30/12      16:21:32
                                                        Page  13 of 16Exhibit B
                                Pg 14 of 17
12-12020-mg   Doc 2961-2 Filed
        Case 08-12229-MFW   Doc02/19/13   Entered
                                 9521 Filed       02/19/13
                                             01/30/12      16:21:32
                                                        Page  14 of 16Exhibit B
                                Pg 15 of 17
12-12020-mg   Doc 2961-2 Filed
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                                 9521 Filed       02/19/13
                                             01/30/12      16:21:32
                                                        Page  15 of 16Exhibit B
                                Pg 16 of 17
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                                             01/30/12      16:21:32
                                                        Page  16 of 16Exhibit B
                                Pg 17 of 17
